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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

                CURLING PLAINTIFFS’ MEMORANDUM
           IN SUPPORT OF THEIR MOTION FOR SEVERANCE

      Plaintiffs Donna Curling, Donna Price, and Jeffrey Schoenberg (the “Curling

Plaintiffs”) respectfully move the Court to sever their claims in the Second

Amended Complaint (Dkt. No. 70, as modified by their withdrawal and voluntary

dismissal of certain claims pursuant to the Curling Plaintiffs’ Notice (Dkt. No.

222) and Stipulation of Dismissal (Dkt. No. 223)) (“SAC”) from those claims

asserted by Plaintiffs Coalition for Good Governance (“CGG”), Laura Digges,

William Digges III, Ricardo Davis, and Megan Missett (the “Coalition Plaintiffs”)

in the Third Amended Complaint (Dkt. No. 226) (“TAC”) in order to avoid further

prejudice to the Curling Plaintiffs and to maximize efficiency and judicial

economy in the administration of their case and the pursuit of critical relief for

themselves and all Georgia voters. This Court has emphasized “the great amount
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of public interest in this” case. (September 12, 2018 Hearing Transcript at 8-9.)

The public interest is not served by undue delays and strategic choices that impede

the “just, speedy, and inexpensive determination” of this case. Fed. R. Civ. P. 1.

Both the State Defendants and the Coalition Plaintiffs previously expressed

support for severance.

      Absent severance of the Plaintiffs’ respective claims, the Curling Plaintiffs

will continue to suffer from the harmful delays and waste of resources that have

resulted from being tied to the Coalition Plaintiffs. As the Court itself has noted,

time is critically important in this case. Time and again, the Coalition Plaintiffs

have thwarted the Court’s and the Curling Plaintiffs’ efforts to expedite this case,

disrupting efficient case management and justice. Indeed, the basis for this Court’s

recent denial of Plaintiffs’ motions for preliminary injunctions was the amount of

time remaining before the November 2018 election—and those motions were

delayed due to strategic choices made by the Coalition Plaintiffs, particularly

CGG, that needlessly slowed this case.

      The Curling Plaintiffs’ only objective in this litigation is to obtain relief

needed to ensure secure elections for all voters across the great state of Georgia as

soon as possible. They are not in this for notoriety, attention, or any other self-

aggrandizing goals, nor are their counsel in this for money. Indeed, all their


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current counsel are engaged pro bono. The Curling Plaintiffs hope to resolve this

litigation in a way that achieves their singular objective as quickly and efficiently

as possible. The Curling Plaintiffs are prepared to proceed directly into discovery

expeditiously and to quickly obtain the relief they seek for future elections in

Georgia.   They cannot do this as long as they are hindered by the strategic

decisions and delays of the Coalition Plaintiffs. The Curling Plaintiffs respectfully

request that this Court grant this motion as soon as possible so they can proceed

with their claims in an efficient, expeditious, and orderly manner, without further

undue delay and prejudice.

                                 BACKGROUND

      On July 3, 2017, the Original Plaintiffs1 filed suit in Fulton County Superior

Court. (Dkt. No. 1-2.) After removal by the then-Defendants2 in the case, the

1
  The original Plaintiffs in this case were Donna Curling, Coalition for Good
Governance, Donna Price, Jeffrey Schoenberg, Laura Digges, William Digges III,
and Ricardo Davis.
2
  The original Defendants in this case were Brian P. Kemp (individually and in his
official capacity as Secretary of State of Georgia and Chair of the State Election
Board); David J. Worley, Rebecca N. Sullivan, Ralph F. “Rusty” Simpson, and
Seth Harp (individually and in their official capacities as members of the State
Election Board); the State Election Board; Richard Barron (individually and in his
official capacity as Director of the Fulton County Board of Registration and
Election); Mary Carole Cooney, Vernetta Nuriddin, David J. Burge, Stan
Matarazzo, and Aaron Johnson (individually and in their official capacities as
members of the Fulton County Board of Registration and Elections); the Fulton
County Board of Registration and Elections. Defendant Mark Wingate
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Original Plaintiffs3 filed the SAC on September 15, 2017, which dropped claims

contesting the results of the Ossoff-Handel Election. (Dkt. No. 70.) The parties

completed briefing on the motions to dismiss the SAC as of October 31, 2017.

(Dkt. No. 100.)

      Unfortunately, on November 3, 2017, then-counsel for all the Original

Plaintiffs—Steptoe & Johnson LLP (“Steptoe”)—moved for permission to

withdraw its representation of a single Plaintiff, the Coalition for Good

Governance. (Dkt. No. 104.) Steptoe explained to the Court that “CGG’s

litigation strategy and goals conflict significantly with those of other plaintiffs….”

(Id. ¶ 5.) Unfortunately, this has not changed in the year since that filing.

(individually and in his official capacity as a member of the Fulton County Board
of Registration and Elections) joined the case with the filing of the First Amended
Complaint (Dkt. No. 15). The following parties have since been terminated from
the case: Maxine Daniels (individually and in her official capacity as Director of
Voter Registrations and Elections for DeKalb County); Michael P. Coveny,
Anthony Lewis, Leona Perry, Samuel E. Tillman, and Baoky N. Vu (individually
and in their official capacities as members of the Dekalb County Board of
Registrations and Elections); the Dekalb County Board of Registrations and
Elections; Janine Eveler (individually and in her official capacity as Director of the
Cobb County Board of Elections and Registration); Phil Daniell, Fred Aiken, Joe
Pettit, Jessica Brooks, and Darryl O. Wilson (individually and in their official
capacities as members of the Cobb County Board of Elections and Registration);
the Cobb County Board of Elections and Registration); Merle King (individually
and in his official capacity as Executive Director of the Center for Election
Systems at Kennesaw State University); and the Center for Election Systems at
Kennesaw State University.
3
  Plaintiff Edward Curtis Terry joined the case with the filing of the SAC and was
terminated by the Court on March 20, 2018. (Dkt. No. 147.)
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      Candidly, it is unclear exactly what CGG’s litigation strategy and goals are

in this case. It is clear, however, in the Curling Plaintiffs’ considered and

experienced judgment, that CGG’s strategy and goals are not fully aligned with

those that best serve Georgia voters and the ultimate, paramount goal of obtaining

secure, transparent, verifiable elections in Georgia as soon as possible. This is

evident in the strategic delays CGG injected into this litigation during the last year,

which ultimately led this Court to conclude that too little time remained to provide

the Curling Plaintiffs and all other Georgia voters critical relief for this year’s

midterm elections.

      In response to Steptoe’s motion to withdraw just as to a single Plaintiff,

CGG filed multiple motions seeking extensions of time in which to respond to

Steptoe’s motion along with a stay of all proceedings. (Dkt. Nos. 109, 113, 115.)

In other words, CGG—an out-of-state organization—sought to stay this litigation

in its entirety merely because it was unable to work cooperatively with prior

counsel and other Plaintiffs, thereby delaying critical relief for Georgia voters

simply to serve its own ends.

      On November 30, 2017, the Court concluded that CGG’s response to

Steptoe’s motion was “improper” and “wholly unresponsive.” (Dkt. No. 117 at 2.)

The Court found that “CGG does not appear to object to Steptoe withdrawing from


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its representation of CGG, but instead, CGG argues that Steptoe should withdraw

from representation of all remaining Plaintiffs as well.” (Id. at 1-2.) In other

words, CGG sought to deprive all other Plaintiffs of their chosen counsel—which

was working pro bono and had the resources to move this case forward quickly for

all remaining Plaintiffs to the benefit of all Georgia voters—merely because CGG

could not work cooperatively with that counsel. The Court permitted Steptoe to

withdraw as to CGG alone, and the Court stayed and administratively closed the

case until CGG could find new counsel. (Id. at 2-3.) Thus, CGG achieved the

very delay of this case that it sought, forcing all other Plaintiffs, along with all

other Georgia voters, to wait for CGG to find new counsel before they could

pursue critically important relief needed for secure elections in Georgia.

      CGG, unfortunately, was not satisfied with that Order. Because CGG

“repeatedly objected to Steptoe’s continued representation of any plaintiff in the

case and refused to grant a waiver consenting to Steptoe’s ongoing representation”

of the remaining Plaintiffs, “on November 27, 2017, Steptoe provided all plaintiffs

notice … of its intent to withdraw from the representation of all plaintiffs in the

case.” (Dkt. No. 128 ¶¶ 3-4.) In other words, even after this Court ordered that

Steptoe could continue to represent all other Plaintiffs, CGG insisted that Steptoe




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withdraw entirely from the case, thereby forcing all other Plaintiffs to seek new

counsel.

      Forced out of the case by CGG, Steptoe filed a motion to withdraw entirely

from the case on January 12, 2018. (Dkt. No. 131.) The Curling Plaintiffs

immediately filed objections to Steptoe’s motion to withdraw, hoping to keep their

counsel after months of unnecessary delay and distraction injected into the case by

a single, out-of-state Plaintiff, CGG. (Dkt. No. 132.) The Curling Plaintiffs stated

that they did not believe Steptoe’s continued representation raised a conflict of

interest, that they had been pleased with Steptoe’s work, and that they doubted

their ability to find other representation given the need for counsel with similar

resources willing to take on the case pro bono (due to the substantial expense of

this sort of case and the limited means available to the Curling Plaintiffs). (Id.)

      The District Court saw “no clear indication of a substantive, actual conflict

of interest.” But because “CGG has objected to Steptoe’s continued

representation,” the Court granted Steptoe’s motion to withdraw on January 18,

2018. (Dkt. No. 135 at 3.) The Court directed each of the individual Plaintiffs to

file a notice by February 22, 2018, indicating whether they intended to proceed pro

se, with new counsel, or to dismiss their claims altogether. (Id.)




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      On February 22, 2018, the Curling Plaintiffs notified the Court that they

were in the process of obtaining new counsel and requested an additional two

weeks to finalize the engagement. (Dkt. No. 143.) The Court granted the Curling

Plaintiffs an extension. (Dkt. No. 144.) On March 30, 2018, the Curling Plaintiffs

notified the Court that they had obtained new counsel and requested that the Court

convene a status conference at its earliest convenience. (Dkt. No. 150.)

      On April 4, 2018, without the consent of the Curling Plaintiffs, the Coalition

Plaintiffs needlessly moved to file the TAC. (Dkt. No. 160 at 3-4.) The Coalition

Plaintiffs claimed that “[t]he SAC does not reflect the goals of Coalition Plaintiffs

in this litigation.” Id. at 4. The Curling Plaintiffs (and the State and Fulton County

Defendants) opposed the Coalition Plaintiffs’ motion to amend. (See Dkt. Nos.

166, 175, 179.)     The Curling Plaintiffs objected to the “highly inefficient”

amendment at that “late date” because it would “spark yet another round of

motions to dismiss and the extraordinary expense and delay that [it] would inject

into this case.” (Dkt. No. 179 at 1-2.) And that is precisely what happened.

Rather than proceeding directly with preliminary injunction briefing well in

advance of this year’s midterm elections, the case became mired in procedural

delays for months dealing with the Coalition Plaintiffs’ unnecessary amendments

to the SAC. As the Curling Plaintiffs anticipated, in early July of 2018, the State


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Defendants moved to dismiss the Coalition Plaintiffs’ TAC and further delay

ensued. (Dkt. No. 234.)

      The unnecessary nature of the Coalition Plaintiffs’ amendments to the SAC

is evident in their papers, filed at the Court’s direction (Dkt. No. 189), purporting

to identify “material allegations of the TAC” for which “the SAC does not contain

any sufficiently comparable allegations.”       (Dkt. No. 190 at 2.)      Nothing the

Coalition Plaintiffs identified as somehow missing in the SAC was needed for this

case to survive dismissal and proceed through discovery and to trial expeditiously.

In fact, the Coalition Plaintiffs expressly conceded this. (Id. at 2 n.1 (“Neither this

Notice nor the TAC are intended to imply that the allegations of the SAC fail to

state a claim for relief or are insufficient as a matter of law.”).) Thus, the months

of delay involving the Coalition Plaintiffs’ TAC—and the corresponding

substantial prejudice to the Curling Plaintiffs and all other Georgia voters—were

unnecessary, avoidable, and the product of decisions by the Coalition Plaintiffs that

were at odds with the strategic goals of the Curling Plaintiffs and the best interests

of Georgia voters.

      In August, the Coalition Plaintiffs and the Curling Plaintiffs filed separate

motions for preliminary injunction, seeking relief that overlapped in some respects

(e.g., paper ballots at the polls and post-election auditing) and that differed in other


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respects. (Dkt. Nos. 258, 260, 271, 281.) The Court held an evidentiary hearing

on September 12 on the Plaintiffs’ Motions for Preliminary Injunction; during the

same hearing, the Court heard argument from the parties on the issues of

immunity, standing, res judicata, and collateral estoppel. (Dkt. No. 298.) The

Curling Plaintiffs were forced to proceed with briefing and the hearing on their

preliminary injunction motion without the benefit of discovery because CGG’s

inexplicable insistence on restarting the case with a new complaint and new

dismissal briefing deprived the Curling Plaintiffs of the opportunity for discovery

before needing to file their preliminary injunction motion.

      On September 17, 2018, the District Court entered an Order denying

Plaintiffs’ Motions for Preliminary Injunction based on the limited time remaining

before the November 2018 general election, and denying in part Defendants’

Motions to Dismiss with respect to standing and immunity. (Dkt. No. 309.) In

other words, despite finding “a host of serious security vulnerabilities permitted by

[the current election system’s] outdated software and system operations,” this

Court concluded that too little time remained to provide Georgia voters the relief

needed to secure the election system against interference. (Id. at 43-45.)

      The timing of the filing of Plaintiffs’ preliminary injunction motions was the

direct result of the nearly year-long delays CGG needlessly injected into this case.


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Additionally, the lack of discovery—due to the delays caused by CGG—greatly

disadvantaged the Curling Plaintiffs in prosecuting their preliminary injunction

motion. In particular, the Curling Plaintiffs believe that discovery would have

established—contrary to Defendants’ arguments—the ability of the State and

counties to implement paper ballots in lieu of DREs for the midterm elections this

year without “chaos” or otherwise undermining the elections.

      But without even limited, targeted discovery regarding the efforts involved

in implementing paper ballots—which is already authorized by existing Georgia

law and, as former Secretary of State Cathy Cox conceded, is the “fail safe”

intended by the legislature when DREs cannot reliably be used—the Curling

Plaintiffs were deprived of valuable evidence needed to respond to Defendants’

claims and that undoubtedly would have revealed that the many, hard-working

election officials across the great state of Georgia are far more capable than

Secretary of State Kemp and the other Defendants gave them credit for in the

proceedings before this Court. In sum, the CGG deprived the Curling Plaintiffs

and all other Georgia voters of the relief they were—and are—entitled to and that

is necessary to secure their constitutional right to vote because of its own strategic

judgments and self-serving efforts that delayed this case for many months.

      In its September 17 Order, this Court observed:


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         The Court understands some of the reasons why Plaintiffs may
         have been unable to file a preliminary injunction motion before
         new counsel for the Coalition Plaintiffs filed a Third Amended
         Complaint in June 2018. But the August filing of their motion
         for preliminary injunction effectively put the squeeze on their
         proposed remedial relief.

(Dkt. No. 309 at 43) (emphasis in original). The Court seems to suggest that the

Curling Plaintiffs could have filed their own motion for preliminary injunction

after the Coalition Plaintiffs filed the TAC on June 13, 2018. This highlights the

need for severance and the prejudice to the Curling Plaintiffs from remaining in the

same case as the Coalition Plaintiffs.

      Since all Plaintiffs were—and still are—in the same case in June 2018, and

the case moved into new dismissal briefing without the Court entering a new

scheduling order or addressing the schedule jointly proposed by all Plaintiffs on

June 20, 2018 (Dkt. No. 229), the Curling Plaintiffs were under the impression that

they were required to coordinate with the Coalition Plaintiffs on filing any

motion(s) for preliminary injunction, which would have to await the close of the

new dismissal briefing and possibly even a decision on the pending motions to

dismiss. In fact, the Curling Plaintiffs attempted to do exactly that, only to be

surprised by the Coalition Plaintiffs’ unilateral filing on August 3, which the

Curling Plaintiffs learned about just before the close of business that day and only

shortly before it was filed—despite the Curling Plaintiffs’ attempt to coordinate a

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mutual motion or simultaneous motions. Had the Curling Plaintiffs been in their

own distinct case already, they eagerly would have filed their preliminary

injunction motion as soon as possible after their new counsel first appeared in the

spring of this year (and ideally after limited, expedited discovery4), well in advance

of this year’s midterm elections. This is exactly the sort of confusion, prejudice,

and unfairness that have arisen and will continue to arise if the Curling Plaintiffs’

claims are not severed from those of the Coalition Plaintiffs.

      Other examples of strategic disagreements between the Coalition Plaintiffs

and the Curling Plaintiffs abound. For instance, the Coalition Plaintiffs have long

objected to the agreement reached between the Curling Plaintiffs and Defendants

regarding the parameters of Defendants’ preservation obligations in this case.

During a May 10, 2018 hearing following a meeting between all parties, Plaintiffs


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  The prejudice from the loss of an opportunity for any discovery regarding the
Curling Plaintiffs’ motion for preliminary injunction—due to the delays caused by
the Coalition Plaintiffs—cannot be overstated. Indeed, the Curling Plaintiffs did
not file their motion before the first week of August in part because of the hope
that this Court would deny the pending motions to dismiss and allow for targeted,
expedited discovery in June or July, despite the delays caused by the Coalition
Plaintiffs. When it became clear in late July that this was unlikely and time was
running out, the Curling Plaintiffs recognized the need to move for a preliminary
injunction on the information available to them, which they did on August 7. The
Curling Plaintiffs believe, however, that limited discovery would have revealed
that Defendants’ objections to paper ballots for this year’s midterm elections were
without merit and that their underlying allegations were as unreliable as those they
offered in defense of the security of the DRE-based system.
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agreed to provide Fulton, Dekalb, and Cobb counties with lists of the DREs that

could be released from the litigation hold. (Dkt. No. 204 at 15 (following a

description of the agreement, counsel for Coalition Plaintiffs acknowledged that

“[Coalition Plaintiffs] had worked together with the Curling Plaintiffs to arrive at

this process.”) Plaintiffs agreed to accept certain information from Defendants in

order to come up with these lists.

      Within days of the parties’ agreement, the Coalition Plaintiffs began to

contend that they needed more information from Defendants than previously

agreed or they could not provide lists of DREs that can be released from

preservation. To date, to the Curling Plaintiffs’ knowledge, the Coalition Plaintiffs

have not provided lists to any of the three counties regarding DREs that can be

released. It is unclear how they plan to proceed if Defendants have released

machines on the lists provided by the Curling Plaintiffs—and the Curling Plaintiffs

should not be forced to spend time and resources dealing with any such

disagreement between Defendants and the Coalition Plaintiffs and any

corresponding motion practice.5

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  The Curling Plaintiffs provided lists to Cobb County and Dekalb County
regarding DREs that can be released, but they are to date unable to do so for Fulton
County. Fulton County has not yet provided all information listed in 2(a)-(d) of
the May 17, 2018 Joint Status Report (Dkt. No. 210). As a result, the Curling
Plaintiffs have not been able to determine a representative sample of DREs for
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      Additionally, on July 20, 2018, the Coalition Plaintiffs filed a Motion for

Issuance of Subpoena. (Dkt. No. 230.) The Curling Plaintiffs did not join in that

motion. And CGG’s Executive Director, Marilyn Marks, has even criticized the

Curling Plaintiffs and mischaracterized their objectives and intentions in this

litigation in comments to the media and others (the Curling Plaintiffs have had to

address this serious issue with CGG’s counsel on multiple occasions).

      Most recently, the Coalition Plaintiffs have filed a Motion for Additional

Injunctive Relief, in which the Curling Plaintiffs have not joined and do not plan to

join.6 (Dkt. No. 327.) The Curling Plaintiffs believe they and all other Georgia

voters are best served by, as this Court previously observed, moving forward with

discovery expeditiously to a full and fair hearing on the merits of their claims as

soon as possible, to ensure that unnecessary delays do not once again deprive

Georgia voters of critical relief needed for secure elections. The Curling Plaintiffs


Fulton County. Therefore, the Curling Plaintiffs expect that Fulton County has
continued to preserve all DREs subject to its preservation duties.
6
  The Curling Plaintiffs do not oppose the Coalition Plaintiffs’ Motion for
Additional Injunctive Relief and take no position on the relief requested at this
time, other than to note their own different strategic judgment that Georgia voters
are best served at this time by this case moving forward expeditiously through
discovery to a full and fair hearing on the merits as soon as possible. The Curling
Plaintiffs, of course, fully support any relief that can meaningfully enhance the
security, transparency, reliability, and verifiability of the current election system in
Georgia for the upcoming elections, which may include at least some of the relief
the Coalition Plaintiffs are seeking in their Motion for Additional Injunctive Relief.
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are prepared to devote all necessary time and resources to that important effort,

without further distraction or delay. It has become abundantly—and painfully—

clear that severance is the only means by which the Curling Plaintiffs can do that.

                                  ARGUMENT

      In opposing the Coalition Plaintiffs’ Motion to Amend (Dkt. No. 166), the

State Defendants themselves emphasized that severing the parties’ claims into two

actions was the only way to “safeguard both the Plaintiffs’ respective rights and to

ensure Defendants’ right to a fair trial” in the event that the Coalition Plaintiffs

were permitted to file the Third Amended Complaint. (Dkt. No. 166 at 9 (citing

Fed. R. Civ. P. 21).)7 The Court has since accepted the TAC (see Dkt. No. 225)

and largely denied Defendants’ motions to dismiss (see Dkt. No. 309), but

compelling reasons to sever the case remain, as the State Defendants rightly

observed.

      In light of persistent differences in strategy between the two groups of

Plaintiffs and the significant prejudice to the Curling Plaintiffs from these

differences and the corresponding actions taken by the Coalition Plaintiffs, the

Curling Plaintiffs agree with the State Defendants that severance is the only


7
 Counsel for the State Defendants and counsel for the Coalition Plaintiffs similarly
alluded to the possibility of severance during the parties’ May 1, 2018 status
hearing. (See Dkt. No. 186 at 13:24-15:1, 47:15-48:12.)
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practical way to preserve the parties’ respective rights. In particular, severance is

necessary to avoid penalizing the Curling Plaintiffs with continued delays to

opening discovery while the Coalition Plaintiffs’ unilateral requests are

adjudicated. Additionally, because the Curling Plaintiffs must respond to protect

their own interests, motions and other actions by the Coalition Plaintiffs (such as

regarding preservation, discovery, and preliminary relief) result in the Curling

Plaintiffs expending significant time and resources they would otherwise be able to

devote to their claims and obtaining critical relief for Georgia voters.

      Under Rule 21, “[a] district court ‘may sever any claim against any party.’”

Schwartz v. Dex Media, Inc., No. 2:18-cv-105-FtM-38CM, 2018 WL 2094962, at

*2 (M.D. Fla. May 7, 2018) (citing Fed. R. Civ. P. 21)). Rule 21 gives a district

court “broad discretion” in determining whether to sever claims, and the court

“may consider factors such as judicial economy, case management, prejudice to

parties, and fundamental fairness.” Id. (quoting Potts v. B & R, LLC, No. 8:13-cv-

2896-T-27TGW, 2014 WL 1612364, at *3 (M.D. Fla. Apr. 21, 2014)).

      There is simply no good reason for the Curling Plaintiffs claims to remain in

the same case as those of the Coalition Plaintiffs.        The two groups are now

operating with distinct counsel under distinct and materially different complaints,

with distinct filings reflecting overlapping yet divergent theories and strategies


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about how best to secure the constitutional right to vote in Georgia elections. See

Essex Ins. Co. v. Kart Constr., Inc., No. 8:14-cv-356-T-23TGW, 2015 WL 628782,

at *7 (M.D. Fla. Feb. 12, 2015) (severing crossclaim and counterclaim where

proceeding with both in main case would “unnecessarily lengthen and complicate

the litigation . . . subjecting Essex to unwarranted delay and expense”). It is unfair

to require the Curling Plaintiffs to continue to deal with issues the Coalition

Plaintiffs inject into the case that the Curling Plaintiffs would, in their own

judgment, resolve quickly or avoid entirely, such as involving preservation,

discovery, and the relief needed.       This is especially true given the unusual

difficulty of working with CGG, even for those who should be aligned.

      Although both the Coalition Plaintiffs and the Curling Plaintiffs are pursuing

similar claims, “severance is not precluded because the claims have facts in

common.” Id. at *6. The mere fact that both sets of Plaintiffs challenge the

constitutionality of the use of DREs does not prevent this Court from severing the

two complaints. See id. Aside from the common underlying issues, the parties’

theories and specific allegations under the two complaints are substantially

different in significant respects and allow for a natural division into separate cases.

The Coalition Plaintiffs themselves underscored these differences in their filings

related to the proposed TAC and the preliminary injunction proceedings.


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      In their Notice Identifying Paragraphs of Proposed Third Amended

Complaint with Material Allegations (Dkt. No. 190), the Coalition Plaintiffs

identified numerous allegations from the TAC that would not apply to the Curling

Plaintiffs yet would require substantial discovery. For example, in Paragraphs 129

through 135, the Coalition Plaintiffs describe the purported actions of certain

Fulton Board of Election members to block the Coalition’s members from

observing polling places. (See Dkt. No. 190 at 12.) These allegations have no

relevance to the Curling Plaintiffs’ claims and will require distinct discovery and

briefing that will consume time and resources the Curling Plaintiffs otherwise

would not need to spend.

      The Curling Plaintiffs are eager to obtain relief for all Georgia voters as

quickly as possible—and this potentially could involve settlement with Defendants

whereby they agree to adopt a new, secure election system across the state along

with reasonable measures needed to ensure that election results reflect the will of

Georgia voters. To be clear, the Curling Plaintiffs would not settle for anything

less than necessary measures that ensure security, transparency, reliability, and

verifiability for voters across the great state of Georgia. But with the dispute over

the timing of such relief no longer at the forefront of the litigation as it was

regarding this year’s midterm elections, perhaps agreement upon a resolution that


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meets these requirements could be reached between reasonable decision-makers on

both sides of this case. Any such settlement will be stymied, however, if the

Curling Plaintiffs remain in the same case as the Coalition Plaintiffs, given the

different objectives and strategies between the two groups and the unusual

difficulty of dealing with CGG. And of course, if settlement proves impossible,

the Curling Plaintiffs should not be prejudiced in their expeditious pursuit of relief

by delays from the Coalition Plaintiffs, who are entitled to prosecute their own

claims as they see fit (in their own case).

                                      CONCLUSION

      Severing the two complaints into two cases will prevent undue prejudice to

any party and will prevent further unnecessary delay and harm to the Curling

Plaintiffs (and Georgia voters at large). Assuming the Court denies Defendants’

request for a stay, the Curling Plaintiffs are prepared to begin discovery now and

work toward the resolution of their claims against the remaining Defendants

expeditiously. Meanwhile, the Coalition Plaintiffs can proceed under the TAC in a

separate case, where they are free to file whatever motions and requests for relief

they deem appropriate in their own judgment. In order to minimize duplication

and any burden on Defendants, the Curling Plaintiffs will make reasonable efforts




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to conduct mutual discovery with the Coalition Plaintiffs where feasible while

moving forward with their own case quickly and efficiently.

      For the reasons stated, the Curling Plaintiffs respectfully request that that the

claims set forth in the SAC be severed from the claims set forth in the Coalition

Plaintiffs’ TAC and that the TAC be assigned as a new case.

Dated: October 8, 2018                    Respectfully submitted,

                                           /s/ David D. Cross
                                          David D. Cross (pro hac vice)
                                          John P. Carlin (pro hac vice)
                                          Catherine L. Chapple (pro hac vice)
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE
      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                             /s/ David D. Cross
                                            David D. Cross




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      Case 1:17-cv-02989-AT Document 329-1 Filed 10/08/18 Page 24 of 24




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

                         CERTIFICATE OF SERVICE
      I hereby certify that on October 8, 2018, a copy of the foregoing CURLING

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION FOR

SEVERANCE was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send notification of such filing to all attorneys of

record.

                                               /s/ David D. Cross
                                              David D. Cross




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